                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF IOWA
                             PROCEEDING MEMO AND ORDER

IN RE:                                      )
                                            )   Chapter 11
VEROBLUE FARMS USA, INC.,                   )
                                            )   Bankruptcy No. 18-01297
         Debtor.                            )

Date of Hearing: January 14, 2019

APPEARANCES:

For Debtor and Alex Moglia: Joseph Peiffer and Dan Childers
Parties-in-Interest: Kristina Stanger and Thomas Fawkes for Official Committee of Unsecured
        Creditors; John Walker, Jr., John W. Guzzardo and Aaron Hammer for Ad Hoc Committee of
        Equity Holders of VeroBlue Farms; Eric Lam and Michael Pankow for Alder Aqua, Ltd.; and
        Steve Swift for Broadmoor Financial L.P.
U.S. Trustee: Janet Reasoner

NATURE OF PROCEEDING:                  X In Court         Telephonic

Disclosure Statement

IT IS ORDERED THAT:

Debtor will be filing Amended Disclosure Statement after circulation and approval by the parties.
                       January 16, 2019
Dated and Entered ________________________



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                                            Thad J. Collins, Bankruptcy Judge
